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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 Anil Suradkar, and                                            Civ. Action #:
 Suresh Tyagi,
                                                               Complaint
                                       Plaintiffs,
                -v-
                                                               Jury Trial Demanded
 Pride Hospitality LLC,
 d/b/a Hotel 95/Airport Plaza, and
 Jai Patel,

                                       Defendants.

       Plaintiff Anil Suradkar, and Suresh Tyagi (“Plaintiffs”), by Abdul Hassan Law Group,

PLLC, their attorney, complaining of Defendants Pride Hospitality LLC, d/b/a Hotel 95/Airport

Plaza, and Jai Patel (collectively “Defendants”), respectfully alleges as follows:

                           NATURE OF THE ACTION
1. Plaintiffs allege that they were employed by Defendants, individually and/or jointly, and
   pursuant to the Fair Labor Standards Act ("FLSA"), 29 U.S.C. §§ 216 (b), that they are: (i)
   entitled to unpaid overtime wages from Defendants for working more than forty hours in a
   week and not being paid an overtime rate of at least 1.5 times their regular rate for such hours
   over forty in a week; and (ii) entitled to maximum liquidated damages and attorneys' fees
   pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq. including 29 U.S.C. §
   216(b).


2. Plaintiffs further complain pursuant to New York Labor Law, that they are: (i) entitled to
   unpaid overtime wages from Defendants for working more than forty hours in a week and
   not being paid an overtime rate of at least 1.5 times their regular rate for such hours over
   forty in a week, (ii) entitled to unpaid minimum wages from Defendants for working and not
   being paid at a rate of at least the applicable New York State minimum wage rate for each
   hour he worked for defendants in a week; (iii) entitled to an extra hour of pay for each day he
   worked a spread of hours of more than ten (10) hours and (iv) is entitled to maximum
   liquidated damages and attorneys fees, pursuant to the New York Minimum Wage Act



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   ("NYMWA"), N.Y. Lab. Law§§ 650 et seq., including NYLL § 663, and the regulations
   thereunder.


3. Plaintiffs are also entitled to recover their unpaid wages, and wage deductions, under Article
   6 of the New York Labor Law including Section 191, 193, and compensation for not
   receiving notices and statements required by NYLL 195, under Article 6 of the New York
   Labor Law and is also entitled to maximum liquidated damages, interest, and attorneys’ fees
   pursuant to Section 198 of the New York Labor Law.


                         JURISDICTION AND VENUE
4. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337 and
   supplemental jurisdiction over Plaintiffs’ state law claims pursuant to 28 U.S.C. § 1367. In
   addition, the Court has jurisdiction over plaintiff’s claim under the Fair Labor Standards Act
   pursuant to 29 U.S.C. § 216 (b).


5. Venue is proper in the Eastern District of New York pursuant to 28 U.S.C. § 1391(b) and/or
   29 USC § 216(b).


6. This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§ 2202,
   2201.


                              THE PARTIES
7. Plaintiff Anil Suradkar (“Plaintiff” or “Suradkar”) is an adult, over eighteen years old, who
   currently resides in Queens County in the State of New York.


8. Plaintiff Suresh Tyagi (“Plaintiff” or “Tyagi”) is an adult, over eighteen years old, who
    currently resides in Queens County in the State of New York.


9. Upon information and belief and all times relevant herein, Defendant Pride Hospitality LLC
   (“Pride Hospitality”) was a New York for-profit Limited Liability Company.




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10. Upon information and belief and at all times relevant herein, the corporate Defendant was
   owned/controlled/managed by Defendant Jai Patel (“Patel”) who was in charge of the
   operations and management of Pride Hospitality.


11. Upon information and belief and at all times relevant herein, Defendants individually and/or
   jointly controlled the employment of Plaintiffs and were responsible for hiring, firing,
   scheduling, controlling, managing, supervising, and record-keeping as to Plaintiff’s
   employment, among other employment functions.


12. Upon information and belief, Defendants Pride Hospitality and Patel shared a places of
   business in Queens county, New York at 145-07 95th Avenue, Jamaica, NY 11435, and 139-
   09 Archer Avenue, Jamaica, NY.


13. At all times relevant herein, Plaintiffs were employed individually and/or jointly by
   Defendants.


                              STATEMENT OF FACTS
14. Upon information and belief, and at all relevant times herein, Defendants were in the hotel
   management business.


15. Upon information and belief, and at all relevant times herein, Defendants, individually and/or
   jointly, employed 23 or more employees.


16. Plaintiff Suradkar was employed by Defendants, individually and/or jointly, from on or about
   October 1, 2019 to on or about March 12, 2020.

17. Plaintiff Tyagi was employed by Defendants, individually and/or jointly, for about 7 months
    ending on or about February 13, 2020.


18. At all times relevant herein, Plaintiffs were individually and/or jointly employed by
   Defendants as front desk clerks performing a variety of manual and clerical work throughout



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    Defendants’ hotel, including processing credit card payments.

19. At all times relevant herein, Plaintiff Suradkar was paid at a rate of about $10-$11 an hour at
    separate times during his employment – a rate lower than the applicable NYS minimum wage
    rate for the entire period of his employment with Defendants.

 20. At all times relevant herein, Plaintiff Tyagi was paid at a rate of about $10 an hour – a rate
     lower than the applicable NYS minimum wage rate for the entire period of his employment
     with Defendants.

21. At all times relevant herein, Plaintiffs were paid at their straight regular rate for all hours
    worked including overtime hours (hours over 40 in a week).


22. At all times relevant herein, Plaintiff Suradkar and Tyagi worked about 84 hours each week
    for Defendants and sometimes more; 12 or more hours a day, 7 days a week.


23. A more precise statement of the hours and wages may be made when Plaintiffs obtain the
    wage and time records Defendants were required to keep under the FLSA and NYLL.
    Accurate copies of Plaintiff’s wage and time records that Defendants were required to keep
    pursuant to 29 USC 211, 29 CFR 516 and NYLL 195, 12 NYCRR 142.2-6 are incorporated
    herein by reference.

24. At all times relevant herein and for the time Plaintiff was employed by Defendants,
    Defendants failed and willfully failed to pay Plaintiff an overtime rate of at least 1.5 times
    their regular rate of pay for all hours worked in excess of forty hours in a week.

25. At all times relevant herein, Plaintiffs worked a spread of hours of more than 10 hours a day
    for each day during their employment with Defendants – Plaintiffs worked 12 or more hours
    a day for each day during their employment with Defendants.

26. At all times relevant herein, neither Defendant provided Plaintiffs with the notice(s) required
    by NYLL 195(1).




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27. At all times relevant herein, neither Defendant provided Plaintiffs with the statement(s)
   required by NYLL 195(3).


28. Plaintiffs incorporates herein, accurate records of their time, wages and employment that
   Defendants were required to keep pursuant to the FLSA and NYLL.


29. Upon information and belief, and at all times relevant herein, Defendants had revenues
   and/or transacted business in an amount exceeding $500,000 annually.


30. At all times applicable herein, Defendants conducted business with vendors and other
   businesses outside the State of New York.


31. At all times applicable herein and upon information and belief, Defendants conducted
   business in interstate commerce involving the purchase of materials, and other essential
   supplies for their business.


32. Upon information and belief, and at all times relevant herein, Defendants as a regular part of
   their business, made payment of taxes and other monies to agencies and entities outside the
   State of New York.


33. Defendants as a regular part of its business, engaged in credit card transactions involving
   banks and other institutions outside the state of New York.


34. At all times applicable herein and upon information and belief, Defendants transacted
   business with insurance companies, banks and similar lending institutions outside the State of
   New York.

35. At all times applicable herein and upon information and belief, Defendants utilized the
   instrumentalities of interstate commerce such as the United States mail, internet electronic
   mail and telephone systems.




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36. Upon information and belief, and at all relevant times herein, Defendants failed to display
   federal and state minimum wage/overtime posters.


37. Upon information and belief, and at all relevant times herein, Defendants failed to notify
   Plaintiffs of their federal and state minimum wage and overtime rights and failed to inform
   Plaintiffs that they could seek enforcement of such rights through the government
   enforcement agencies.


38. “Plaintiffs” as used in this complaint refers to the named Plaintiffs.


39. The “present” or the “present time” as used in this complaint refers to the date this complaint
   was signed.


                       AS AND FOR A FIRST CAUSE OF ACTION
         FAIR LABOR STANDARDS ACT - 29 U.S.C 201 et Seq. - Unpaid Overtime
40. Plaintiffs allege and incorporate by reference the allegations in paragraphs 1 through 39
   above as if set forth fully and at length herein.


41. At all times relevant to this action, Plaintiffs were employed by Defendants, individually
   and/or jointly, within the meaning of the FLSA – 29 USC 201 et Seq.


42. At all times relevant to this action, Plaintiffs were engaged in commerce and/or in the
   production of goods for commerce and/or Defendants, individually and/or jointly, constituted
   an enterprise(s) engaged in commerce within the meaning of 29 U.S.C. § 207.


43. At all times relevant herein, Defendants, individually and/or jointly, transacted commerce
   and business in excess of $500,000.00 annually or had revenues in excess of $500,000.00
   annually.


44. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully
   failed to pay Plaintiffs overtime compensation at rates of at least 1.5 times their regular rate



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   of pay for each hour worked in excess of forty hours in a work week, in violation of 29
   U.S.C. § 207.


                               Relief Demanded
45. Due to Defendants' FLSA violations, plaintiffs were entitled to recover from Defendants
   individually and/or jointly, unpaid overtime compensation, maximum liquidated damages,
   attorney's fees, and costs of the action, pursuant to 29 U.S.C. § 216(b).



                    AS AND FOR A SECOND CAUSE OF ACTION
NYLL 650 et Seq. and 12 NYCRR 142-2.2 etc. (Unpaid Overtime + Min. wages + SOH)
46. Plaintiffs allege, and incorporate by reference the allegations in paragraphs 1 through 44
   above as if set forth fully and at length herein.


47. At all times relevant to this action, Plaintiffs were employed by Defendants, individually
   and/or jointly, within the meaning of the New York Labor Law, §§ 2 and 651 and the
   regulations and wage orders thereunder including 12 NYCRR § 142.


48. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully
   failed to pay Plaintiffs overtime compensation at rates of at least 1.5 times their regular rate
   of pay for each hour worked in excess of forty hours in a work-week, in violation of the New
   York Minimum Wage Act and its implementing regulations and wage orders. N.Y. Lab. Law
   §§ 650 et seq., including 12 NYCRR § 142-2.2 and 12 NYCRR § 146-1.4.

49. At all times relevant herein, Defendants failed and willfully failed to pay Plaintiffs at a rate
   that was at least equal to the applicable New York State minimum wage rate for each hour
   worked in a week in violation of the New York minimum Wage Act and its implementing
   regulations. N.Y. Lab. Law§§ 650 et seq.; 12 NYCRR § 142-2.1 and 12 NYCRR § 146-1.2.

50. At all times relevant herein, Plaintiffs worked a spread of hours of more than ten (10) hours
   each day during the period they were employed by Defendants but Defendants failed to pay
   Plaintiffs an additional hour of pay for each such day in violation of the New York Minimum



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   Wage Act, New York Labor law § 650 et seq., including 12 NYCRR § 142-2.4 and 12
   NYCRR § 146-1.6.


                               Relief Demanded
51. Due to defendants’ New York Labor Law violations, Plaintiffs are entitled to recover from
   Defendants, their unpaid overtime, minimum wage and spread of hours compensation,
   prejudgment interest, maximum liquidated damages, reasonable attorneys' fees, and costs of
   the action, pursuant to N.Y. Labor L. § 663(1) and the regulations thereunder.


                       AS AND FOR A THIRD CAUSE OF ACTION
                               NYLL § 190, 191, 193, 195 and 198
52. Plaintiffs allege and incorporate each and every allegation contained in paragraphs 1 through
   51 above with the same force and effect as if fully set forth at length herein.


53. At all times relevant to this action, Plaintiffs were employed by Defendants, individually
   and/or jointly, within the meaning of the New York Labor law, §§ 190 et seq., including §§
   191, 193, 195 and 198 and the applicable regulations thereunder.


54. Defendants, individually and/or jointly, violated and willfully violated NYLL §§ 190 et seq.,
   including §§ 191, 193 and 198, by failing to pay Plaintiffs their unpaid overtime wages,
   minimum wages, and spread of hours wages Plaintiffs were entitled to within the time
   required by NYLL §§ 191, 193 and 198.

55. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully
   failed to provide Plaintiffs with the notice(s) required by NYLL 195(1) – Plaintiffs are
   therefore entitled to and seeks to recover in this action the maximum recovery for this
   violation, plus attorneys’ fees and costs pursuant to NYLL 198 including NYLL 198(1-b), as
   well as an injunction directing defendants to comply with NYLL 195(1).

56. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully
   failed to provide Plaintiffs with the statement(s) required by NYLL 195(3) – Plaintiffs are
   therefore entitled to and seeks to recover in this action the maximum recovery for this


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   violation, plus attorneys’ fees and costs pursuant to NYLL 198 including NYLL 198(1-d), as
   well as an injunction directing Defendants to comply with NYLL 195(1).


                               Relief Demanded
57. Due to Defendants’ New York Labor Law Article 6 violations including violation of sections
   191, 193 and 198, Plaintiff is entitled to recover from Defendants, individually and/or jointly,
   their entire unpaid wages, including his unpaid overtime, minimum wages, spread of hours
   wages, maximum liquidated damages, prejudgment interest, maximum recovery for
   violations of NYLL 195(1) and NYLL 195(3), reasonable attorneys’ fees, and costs of the
   action, pursuant to N.Y. Labor Law § 190 et seq. including § 198.


                               PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:
57. Declare Defendants, individually and/or jointly, to be in violation of the Plaintiffs’ rights
   under the Fair Labor Standards Act, Article 6 of the New York Labor Law, the New York
   Minimum Wage Act, and the Regulations thereunder;


58. As to the First Cause of Action, award Plaintiffs their unpaid overtime wages due under the
   FLSA, together with maximum liquidated damages, costs and attorney's fees pursuant to 29
   USC § 216(b);


59. As to the Second Cause of Action, award Plaintiffs their unpaid overtime wages, minimum
   wages, spread of hours wages due under the New York Minimum Wage Act and the
   Regulations thereunder including 12 NYCRR §§ 142-2.2, 2.1, 2.4, together with maximum
   liquidated damages, prejudgment interest, costs and attorney's fees pursuant to NYLL § 663;


60. As to the Third Cause of Action, award Plaintiffs all outstanding wages, including unpaid
   overtime wages, minimum wages, spread of hours wages, plus maximum liquidated
   damages, maximum recovery for violations of NYLL 195(1) and NYLL 195(3), reasonable
   attorneys’ fees, and costs of the action, pursuant to N.Y. Labor Law § 190 et seq. including §
   198, and issue an injunction directing defendants to comply with NYLL 195(1) and NYLL



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   195(3).


61. Award Plaintiffs prejudgment interest on all monies due;


62. Award Plaintiffs any relief requested or stated in the preceding paragraphs but which has not
    been requested in the WHEREFORE clause, in addition to the relief requested in the
    wherefore clause;


63. Award Plaintiffs such other, further and different relief as the Court deems just and proper.


Dated: Queens Village, New York
       May 8, 2020

Respectfully submitted,

Abdul Hassan Law Group, PLLC

_/s/ Abdul Hassan________________
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